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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOSEPH H. LEWIS, JR.                        : JURY TRIAL DEMANDED
                                            :
                          Plaintiffs        :
                                            : No. 16-5874
      v.                                    :
                                            :
UNIVERSITY OF PENNSYLVANIA                  :
                                            : CIVIL ACTION
                          Defendant.        :

                             NOTICE OF APPEARANCE

TO THE CLERK OF COURT:

      Kindly enter the appearance of Joe H. Tucker, Jr., Esquire as counsel for

defendant in the above-referenced matter.

                                       TUCKER LAW GROUP, LLC


Dated: December 9, 2016                /s/JHT2465
                                       Joe H. Tucker, Esquire
                                       Douglas K. Jenkins, Esquire
                                       Ten Penn Center
                                       1801 Market Street, Suite 2500
                                       Philadelphia, PA 19103
                                       (215) 875-0609
                                       Attorneys for Defendants
         Case 2:16-cv-05874-GEKP Document 3 Filed 12/09/16 Page 2 of 2



                                CERTIFICATE OF SERVICE

       I, Joe H. Tucker, Jr. Esquire, hereby certify that a copy of the foregoing was filed

electronically. Notice of this filing will be sent to all parties by operation of the Court’s

electronic filing system. Parties may access this filing through the Court’s system.


                                                   TUCKER LAW GROUP


Date: December 9, 2016                             /s/ JHT2465
                                                   Joe H. Tucker, Jr., Esquire
